    Case 17-12339-JDW                             Doc 42          Filed 03/08/18 Entered 03/08/18 14:16:52                                  Desc Main
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 Fill in this information to identify the case:

 Debtor 1                  Ronald Ginet
 Debtor 2                  Bobbi Ginet
 (Spouse, if filing)
 United States Bankruptcy Court for the:           Northern       District of          Mississippi
                                                                                         (State)
 Case number                                 17-12339-JDW




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                       12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                 U.S. Bank National Association                                   Court claim no. (if known):                       5-1

Last four digits of any number you use to                                                          Date of payment change:
identify the debtor's account:                                                  2720               Must be at least 21 days after date of       05/01/2018
                                                                                                   this notice



                                                                                                   New total payment:
                                                                                                   Principal, interest, and escrow, if any $568.63


Part 1:                Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
    No
    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
              the basis for the change. If a statement is not attached, explain why:

                          Current escrow payment:        $188.38                                   New escrow payment:            $187.10


Part 2:                Mortgage Payment Adjustment

 2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-
    rate account?
    No
    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

                         Current interest rate:                                  %                 New interest rate:                               %

                         Current principal and interest payment             $                      New principal and interest payment:      $


Part 3:                Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
         No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                agreement. (Court approval may be required before the payment change can take effect.)
                         Reason for change:
                         Current mortgage payment:            $                                      New mortgage payment:        $




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Debtor 1                                            Ronald Ginet                               Case Number (if known)        17-12339-JDW
                          First Name              Middle Name           Last Name



Part 4:      Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and t elephone number.
Check the appropriate box.

                        I am the creditor.

                       I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.


    
                                                                                    




     /s/ Carlos Hernandez-Vivoni                                                          Date      03/08/2018
       Signature


Print:             Carlos Hernandez-Vivoni                                                 Title    Authorized Agent for U.S. Bank National
                    First Name            Middle Name             Last Name                         Association

Company            Bonial & Associates, P.C.

Address            14841 Dallas Parkway, Suite 425
                   Number                Street

                   Dallas, Texas 75254
                   City                  State                   Zip Code


Contact phone              (972) 643-6600                           Email     POCInquiries@BonialPC.com




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            CERTIFICATE OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE
I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before March 8, 2018 via electronic notice unless otherwise stated:


Debtor Via U.S. Mail
Ronald Ginet
6511 Ashland Drive
Olive Branch, MS 38654

Co-Debtor Via U.S. Mail
Bobbi Ginet
6511 Ashland Drive
Olive Branch, MS 38654
Debtors' Attorney
Karen B. Schneller
P.O. Box 417
Holly Springs, MS 38635

Chapter 13 Trustee
Locke D. Barkley
6360 I-55 North
Suite 140
Jackson, MS 39211

                                                      Respectfully Submitted,
                                                      /s/ Carlos Hernandez-Vivoni




PmtChgCOS_0001                                                                                         3211-N-8504
